      Case 1-22-41410-jmm               Doc 127-1       Filed 07/19/24   Entered 07/19/24 11:40:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------- X
In re:
                                                                     Chapter 7
FRALEG GROUP, INC.,
                                                                     Case No.: 22-41410-jmm

                  Debtor.                                            AFFIDAVIT OF SERVICE
---------------------------------------------------X
STATE OF NEW YORK)
                               )ss:
COUNTY OF NASSAU)

          ANDREA FOLLETT, being duly sworn deposes and says: I am not a party to the
action, am over 18 years of age and reside in Commack, New York.
          On July 19, 2024, service of the NOTICE OF ABANDONMENT OF PROPERTY OF
THE ESTATE was made upon:


THE ATTACHED LIST OF CREDITORS AND PARTIES IN INTEREST


by depositing a true copy thereof enclosed in a post-paid wrapper, in an official depository under
the exclusive care and custody of the United States Postal Service within New York State,
addressed to each of the following persons at the last known address set forth after each name.

                                                             /s/ Andrea Follett
                                                             ANDREA FOLLETT
Sworn to before me this
19th day of July, 2024
/s/ Karen P. Galvin
KAREN P. GALVIN
Notary Public, State of New York
No.01GA5001652
Qualified in Nassau County
Commission Expires September 14, 2026




                                                                                              8339011.1
                          Case 1-22-41410-jmm                Doc 127-1              Filed 07/19/24                      Entered 07/19/24 11:40:26
                                                                     Easy Peel' Address Labels                              '                   Gotoavery.com/templates [
   AVERY                     5160                                 Bend along line to expose Pop-up Edge                 I                                  Use Avery Template 5160 I

 Label Matrix for local noticing                          45 Main Associates LLC                                                 City of New York
 0207-1                                                   c/o Borah, Goldstein, Altschuler, Nahins                               100 Church Street
 Case 1-22-41410-jmm                                      377 Broadway                                                           New York, NY 10007-2668
 Eastern District of New York                             6th Floor
 Brooklyn                                                 New York, NY 10013-3907
 Wed Jul 17 12:43:54 EDT 2024

 Fraleg Group, Inc.                                      Law Offices of Avrum J. Rosen, PLLC                                     (p)MYC 6 ASSOCIATES      INC
 931 Lincoln Place                                        38 New Street                                                          1110 SOUTH AVENUE
 Brooklyn, NY 11213-3332                                 Huntington, NY 11743-3463                                               SUITE 22
                                                                                                                                 STATEN ISLAND NY 10314-3403




 Office of the United States Trustee                     1                                                                       45 Main Associates LLC, c/o Borah, Goldstein
 Eastern District of NY (Brooklyn)                       271-C Cadman Plaza East, Suite 1595                                     377 Broadway
 Alexander Hamilton Custom House                         Brooklyn, NY 11201-1800                                                 New York, New York 10013-3907
 One Bowling Green, Room 510
 New York, NY 10004-1415



 Andy Alege                                              CAF Borrower GS LLC                                                    CAF Borrower GS LLC
 195 St. James Place                                     4 Park Plaza, Suite 900                                                c/o David D. Ferguson, Esq.
 Brooklyn, NY 11238-7385                                 Irvine, CA 92614-2551                                                   900 West 48th Place, Suite 900
                                                                                                                                Kansas City, Missouri 64112-1899




 CAF Borrower GS, LLC                                    CoreVest American Finance                                              Internal Revenue Service
c/o Morgan C. Fiander, Esq.                              4 Park Plaza, Suite 900                                                PO Box 7346
Polsinelli PC                                            Irvine, CA 92614-2551                                                  Philadelphia, PA 19101-7346
 600 Third Avenue,   42nd Floor
New York, New York 10016-1924



Law Offices of Avrum J. Rosen, PLLC                      NYS Dept, of Tax. 4 Fin.                                               New York City Department of Finance
38 New Street                                            Bankruptcy Sections                                                    375 Pearl Street, 27th Floor
Huntington, New York 11743-3463                          P.O. Box 5300                                                          New York, NY 10038-1441
                                                        Albany, NY 12205-0300




New York State Department of Taxation 6 Fina            Office of the U.S. Trustee                                              Raineri Family Group LLC
Bankruptcy Section                                      One Bowling Green Room 510                                              c/o Siegel £ Reiner LLP (Attn: Glenn Rei
P 0 Box 5300                                            New York, NY 10004-1415                                                 130 East 59th Street, 12th Floor
Albany New York 12205-0300                                                                                                      New York, NY 10022-1302




Small Business Associatio                               U.S. Small Business Administration                                      U.S. Trustee Payment Center
409 Third St., SW                                       New York District Office                                                P.O. Box 6200-19
Washington, DC 20416-0002                               26 Federal Plaza, Room 3100                                             Portland, OR 97228-6299
                                                        New York, NY 10278-3199




Richard J. McCord
Certilman Balin Adler 6 Hyman
90 Merrick Avenue
East Meadow, NY 11554-1597




                     The preferred mailing address   p) above has been substituted for the following ent:/ y/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed,R.Bank.P. 2002 (g)(4).




                                               I             Etiquettes d'adresse Easy Peel®                                                    Alleza avery.ca/gabarits [
 Pat: avery.com/patents                        ■                                                                                                ___ I ItilitPT Ip GnhArit Avprv SI AOi
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                         Case 1-22-41410-jmm              Doc 127-1              Filed 07/19/24                   Entered 07/19/24 11:40:26
                                                                   Easy Peel " Address Labels                         !          Gotoavery.com/templates ]
  AVERY                     5160*                               Bend along line to expose Pop-up Edge'            I                       Use Avery Template 5160 I

MYC S Associates,    Inc.                                (d)MYC 4 Associates, Inc
1110 South Avenue                                        1110 South Avenue, Suite 22,
Suite 22                                                 Staten Island, NY 10314
Staten Island, NY 10314




                    The following recipients may be/have been bypassed for notice due to an undeliverabla (u) or duplicate (d) address.




(u)CAF Borrower GS, LLC                                 End of Label Matrix
                                                        Mailable recipients          24
                                                        Bypassed recipients            1
                                                        Total                        25




                                                         Andy Alege                                                       Ron Fraser
                                                         195 St. James Place                                              249 St. Marks Place
                                                         Brooklyn, NY 11238                                               Freeport, NY 11520



   Andre Juman                                              Raymond Verdi, Esq.
   1169 Ocean Ave                                                      Street
   Brooklyn, NY 11230
                                                            Hempstead, NY 11550




                                              I             Etiquettes d'adresse Easy Peel*                   ]                  Alleza avery.ca/gabarits j
Pat: avery.com/patents                        !
                                                      Repliez a la hachure afin de reveler Ie rebord Pop-up ‘ I                    Utilisez Ie Gabarit Avery 5160 I
